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                        EXHIBIT A
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  Dear Judge,

  I have not known Daniel for a long time. I can say without doubt he is passionate and
  deeply cares for his family. He has been through a lot but he is still loyal and loving to his
  family. He calls to check in on his brother as often as he can. His son is struggling without
  him. I have seen that firsthand. This whole thing has not only affected Daniel but his whole
  family which I know is hurting him deeply. He has been concerned for his family throughout
  his life. He made mistakes in the past, which I do believe he has learned from.

  He has done his time, during which he has been abused. No human deserves what all he
  has been through.

  Even with the mistakes of his past, he has paid his debt to society. He needs to be back
  with his family and his family needs him. I realized the importance of family when I was
  diagnosed with stage four cancer last year and it was his family that took me in. These are
  amazing people for sure.

  Respectfully,

  Shauna Haley
